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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MCCONNELL DORCE, CECILIA JONES, and
SHERLIVIA THOMAS MURCHINSON,
individually and on behalf of all others similarly
situated,

                              Plaintiffs,              Civil Action No. 1:19-cv-02216-DAB
             v.

CITY OF NEW YORK, NEIGHBORHOOD
RESTORE HOUSING DEVELOPMENT FUND
CO. INC., BSDC KINGS COVENANT HOUSING
DEVELOPMENT FUND COMPANY, INC.,
MARIA TORRES-SPRINGER (Commissioner of the
New York City Department of Housing Preservation
and Development); JOHN DOE #1 to #10, and JANE
DOE #1 to #10,

                     Defendants.
-------------------------------------


                            MEMORANDUM OF LAW IN OPPOSITION TO
                              DEFENDANTS’ MOTIONS TO DISMISS

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Date of Service: July 18, 2019




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            Plaintiffs MCCONNELL DORCE, CECILIA JONES and SHERLIVIA THOMAS-

MURCHISON (“Plaintiffs”),1 on behalf of themselves and all others similarly situated, by and

through their undersigned counsels, hereby submit this memorandum in opposition to Defendants’

motions to dismiss (ECF Nos. 31 & 34).                  The first motion to dismiss the complaint (the

“Complaint,” ECF No. 7) was filed by the City of New York (the “City”), on behalf of itself and

Maria Torres-Springer (Commissioner of the New York City Department of Housing Preservation

and Development) (collectively, the “Municipal Defendants”). The second motion to dismiss

was filed by BDSC Kings Covenant Housing Development Fund Company, Inc. (“BDSC”) and

Neighborhood Restore Housing Development Fund Co. Inc. (“Neighborhood Restore”)

(collectively with the Municipal Defendants, “Defendants”).

                                      PRELIMINARY STATEMENT

           This case concerns Defendants’ uncompensated seizure of private real property and

appurtenant interests and value without legal authorization. Defendants use an unconstitutional,

unprecedented, and unfair process to seize buildings owned largely by persons of color, and to

divest such owners of the benefit and long-term security provided by property ownership. The

buildings seized by the City without compensation are then handed over to the City’s chosen

partners and developers, such as BSDC and Neighborhood Restore, in private, closed-door

transactions. Defendants argue they are entitled to do this with impunity, so long as they take

residential property which (1) happens to be in the geographic area of another property that is

“distressed”; and (2) is a property on which charges are owed to the City (even if those charges

haven’t ripened to tax lien status).




1
    The caption inadvertently misspells Ms. Thomas-Murchison’s last name.


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        Defendants style this sham as a “modified in rem process.” But this “process” violates

fundamental principles of private property and due process enshrined in the U.S. and New York

constitutions. When presented with evidence of Defendants’ identical misconduct, a New York

state judge recently described it as “unconscionable and shocking to the conscience of the court.”

In Rem Tax Foreclosure Action No. 53 Borough of Brooklyn, 63 Misc. 3d 1207(A), 2019 WL

1431423, at *9 (N.Y. Sup. Ct. Mar. 28, 2019) (holding the Defendants’ conduct would have been

illegal if not enjoined or reversed by the Court). This decision is attached as Exhibit A. Moreover,

contrary to the Defendants’ arguments, there is no jurisdictional impediment to bringing this action

in this Court. As the U.S. Supreme Court confirmed just last month, “[i]f a local government takes

private property without paying for it, that government has violated the Fifth Amendment . . .

without regard to subsequent state court proceedings. And the property owner may sue the

government at that time in federal court . . . .” Knick v. Township of Scott, 139 S.Ct. 2162, 2170

(2019). This is such a lawsuit.

        Plaintiffs ask the Court to find the municipal statute under which the Defendants execute

their “modified in rem process” unconstitutional on its face and as applied, and otherwise illegal.

Indeed, the City law pursuant to which the “modified in rem process” is advanced is repugnant to

the Constitution and thus void. The Complaint is more than sufficient to state viable causes of

action. Tellingly, Defendants’ motions to dismiss resort (improperly) to relying on purported facts

outside of the Complaint. None of the grounds asserted in the motions to dismiss are meritorious.

Accordingly, the motions should be denied. 2




2
  Plaintiffs are responding to both the Municipal Defendants’ motion to dismiss (ECF No. 31) and BDSC’s and
Neighborhood Restore’s motion to dismiss (ECF No. 34). Defendants’ memoranda make identical arguments to
dismiss the Complaint, with the exception of one additional argument on standing raised by BDSC and Neighborhood
Restore. For ease of reference, we refer only to the Municipal Defendant’s Memorandum of Law in Support of Motion
to Dismiss the Complaint (ECF No. 33), except to respond to the standing argument in Section II.

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                                    STANDARD OF REVIEW

         To survive a motion to dismiss pursuant to FRCP 12(b)(6), “a claim must contain sufficient

factual matter, accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged. . . .

The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678 (citing Twombly, 550

U.S. at 556) (internal citation omitted).

         Furthermore, the Court must “accept as true all factual statements alleged in the complaint

and draw all reasonable inferences in favor of the non-moving party.” McCarthy v. Dun &

Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007). Although Twombly has introduced a “flexible

plausibility standard” into motions to dismiss, ATSI Commc’ns, Inc. v. Sharr Fund, Ltd., 493 F.3d

87, 98 n. 2 (2d Cir. 2007) (internal quotation marks omitted), this standard does not mean a court

should weigh competing fact allegations and determine which is more credible. Notwithstanding,

the standard remains “heavily weighted in favor of the plaintiff”, and the Court must “read a

complaint generously.” Lee v. Sony BMG Music Entm’t, Inc., 557 F. Supp. 2d 418, 423 (S.D.N.Y.

2008).

         While a court may take judicial notice of the existence of “documents issued by

government agencies,” it is improper for a court to accept those documents for the truth of the

matters asserted. See, e.g., Global Network Commc’ns, Inc. v. City of New York, 458 F.3d 150,

157 (2d Cir. 2006). The Court must thus disregard Defendants’ attempt to go beyond the pleadings

at the motion to dismiss stage, as anything beyond the pleadings is not properly before the Court

at that time. See Declaration of Andrea B. Feller (“Feller Dec.,” ECF No. 32). Plaintiffs’

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Complaint satisfies the requirements of FRCP Rule 8(a). As detailed below, each of Defendants’

legal arguments fails on the merits.

                    FACTUAL ALLEGATIONS OF THE COMPLAINT

       The Complaint challenges the legality and constitutionality of Defendants’ self-styled

“modified in rem process,” Mun. Defs.’ Memo. Supp. Mot. Dismiss 2 [hereinafter “MOL”], and

assertion of municipal authority, through which the City seizes private citizens and affordable-

housing cooperatives’ real property, nullifies all related personal property, and transfers the real

property to one of the City’s private partners (the “TPT Program”) in a sub rosa transaction.

Compl. ¶¶ 1–3, 31–34, 51–52. Defendants never identity the source of their purported power to

enact or to utilize the “modified in rem process” and the TPT Program. The TPT Program is set

forth in Title 11, Chapter 4 of the New York City Administrative Code (the “Code”), in Local Law

37 of 1996 (“Local Law 37”). Local Law 37 is codified in Title 28, Chapter 8 of the Rules of the

City of New York. Plaintiffs also challenge Defendants’ claimed right to utilize Local Law No.

37 to seize properties for purposes other than tax collection, since this claimed right is outside of

the in rem authority granted to municipalities by the New York State legislature. Compl. ¶¶ 4–6,

¶¶ 186–190.

Defendants’ Illegal Conduct

       The City has requested in rem judgments from New York State Courts for the TPT Program

in a wholesale fashion, illegally seizing bundles of private property and handing them off to its

favored developer “partners” for nominal consideration ($1.00), under the guise of tax collection.

In a significant number of cases, the property belonged to African-American and/or Hispanic

owners (many elderly), or were located in predominantly African-American, Hispanic and

immigrant communities. Id. ¶¶ 31–34, 78, 89, 106, 124. One court has called this conduct not



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only illegal, but “unconscionable and shocking to the conscience.” No. 53 Borough of Brooklyn,

2019 WL 1431423, at *9.

       Contrary to Defendants’ presentation, the present action is not a tax lawsuit asserted by

taxpayers who were aggrieved by the City lawfully foreclosing and auctioning off their properties.

The Complaint clearly alleges that Plaintiffs’ property was deceptively and surreptitiously seized

from them with no notice, Compl. ¶¶ 68–71, 74, 85, 102, 120, with no opportunity to be heard, id.

¶ 68, for purposes other than tax collection, id. ¶¶ 29, 44–46, 91–92, 108–09, 125–26, and with no

compensation or right of redemption, id. ¶¶ 93, 110, 128, 162, 172, 88, 105, 123, even when the

purported tax charges constituted a tiny fraction of the value of the property, id. ¶ 43, and there

was no indication that the property owners had abandoned such property or that the property was

distressed, id. ¶¶ 86, 103, 121. Indeed, several of Plaintiffs or their families were living in the

properties that Defendants seized at the time the City was awarded in rem judgment. Id. ¶¶ 96,

113, 115.

       Defendants’ “modified in rem process” does not actually serve any tax purpose because

the City collects none of the taxes or charges upon which it moved the state court for seizure and

extinguishment of the prior owners’ title and value in the property. Id. ¶¶ 33, 49, 90, 107, 125.

Instead, Defendants use the purported tax charges as a pretext to advance the City’s desire to seize

and transfer private property without the constitutional detail of noticing the illegal seizure, or

otherwise paying for the illegal taking. Id. ¶¶ 46, 86, 93.

       In 2017, the City made an application to the Kings County Supreme Court (Justice

Partnow) to seize outright—obtaining fee simple absolute title by judgment—scores of properties

in Brooklyn, New York, purportedly because of unpaid charges that accrued from water, sewage,

and emergency repairs made by the City in those properties. See No. 53 Borough of Brooklyn,



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2019 WL 1431423, at *1–2. In fact, many of the purported charges were unsubstantiated, had not

ripened to tax lien status, had actually been paid by the property owners, or were simply inaccurate.

See, e.g., id. at *17 (even after removal from administration, “HPD continued to add charges and

interest”), *18 (property owner had “not been given credit for many of the charges that it paid”);

see also Compl. ¶¶ 40 (the City seizes property “even . . . where amounts owed to the City for

taxes do not yet have lien status”), 52 (in some instances, the city incorrectly delineates tax liens).

The City’s 2017 property seizures, which were initially granted on default by Justice Partnow on

the basis of the Municipal Defendants’ ex parte application3, and the subsequent transfer of title

to its co-conspirators like co-defendants BSDC and Neighborhood Restore were effected: (1)

notwithstanding that the City is only permitted to use the in rem powers granted to it by New York

State for actual tax collection, Compl. ¶ 4; (2) without regard for the fact that the New York Court

of Appeals has held that any takings utilizing those powers cannot be for de minimis amounts; and

(3) without regard for the “due process” of law requirements developed under New York law for

the utilization of in rem takings for actual tax collections, or even the due process requirements of

Local Law No. 37. On information and belief, the City has taken hundreds if not thousands of

residential properties away from private owners, such as Plaintiffs, in this manner. See No. 53

Borough of Brooklyn, 2019 WL 1431423, at *1 (noting that the city filed applications “to

simultaneously foreclose on numerous tax delinquent properties” including properties in sections

3–9, 10–11, 13, 15–16, and 21 of the Kings County tax map).




3
 Justice Partnow subsequently reversed the judgment the City seeks to rely on here, which extinguished the real and/or
personal property rights of Plaintiffs as to the properties of several property owners similarly situated to Plaintiffs.
No. 53 Borough of Brooklyn, 2019 WL 1431423, at *9, *14, *17, *20, *24, *29 (vacating the judgment for each
property and restoring title to the property owners). Like Plaintiffs here, these property owners attested that they had
no actual notice that the City sought to or actually seized their property. Id. at *1, *6, *10, *18, *22, *25.



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         The City’s illegal conduct is far outside the bounds of what Local Law 37 allows. Compl.

¶¶ 33, 52. Even though Local Law 37 includes an expansive definition of the “distressed property”

that is subject to seizure by the City,4 Defendants admit to disregarding these requirements in

seizing properties. MOL 14–15. As acknowledged by Justice Partnow, the City’s conduct is far

outside the legislative intent behind Local Law 37. No. 53 Borough of Brooklyn, 2019 WL

1431423, at *23. Citing to the testimony in support of the bill which became Local Law No. 37,

Justice Partnow observed that both then New York City HPD Commissioner Deborah C. Wright

and former New York City Human Resources Administration Commissioner Lilliam Barrios-Paoli

confirmed “that the goals of this legislation was [sic] to identify ‘troubled buildings’ and ‘prevent

abandonment.’” Id. “This testimony also set forth that the legislation providing for the Third

Party Transfer Program was a ‘tough provision,’ which ‘would be utilized where owners are

irresponsible,’ and ‘tenants are being harassed and not provided with essential services,’ or ‘where

buildings are unlikely to become economically viable without complete tax and mortgage

restructuring.’” Id. This is not how the Defendants are actually employing the law as they are

seizing properties that are “not distressed, where the shareholders are the owners of the cooperative

units who have rehabilitated the . . . property and have essential services, and where [the property

owner] has not abandoned the . . . property, but is actively seeking to pay off the tax liens.” Id.

         Unbelievably, the City’s seizures include properties of owners, like Dorce, who have

entered into installment repayment agreements regarding outstanding water and sewer charges or

have made additional lump sum payments demanded to clear their accounts with the City, or, in



4
  In short, a “distressed” property is one that: (i) as determined by the commissioner of finance owes 15% or more in
taxes and (ii) either (a) had an average of at least five hazardous or immediately hazardous violations of the housing
maintenance code, or (b) is subject to a lien(s) for any expenses incurred by the department of housing prevention and
development for the repair or elimination of any dangerous or unlawful conditions in an amount of $1,000 or more.
NYC Admin. Code § 11-401(4). Notably, Plaintiffs’ properties were not “distressed,” although Defendants’ seizure
would have been unconstitutional even if they were.

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the limited instances where the owners became aware of the City’s in rem proceedings, have

“relied on . . . representations in the Installment Agreement and assumed the . . . property had been

removed from the in rem action.” Id. at *5; see also Compl. ¶52. In at least some instances, the

installment repayment plans are for payment of amounts incorrectly delineated as tax liens.

Compl. ¶ 52. Regardless, at no point does the City remove the property from the in rem proceeding

even after entry into an installment repayment plan. Id.

       The City’s rationale for its seizures is that it unilaterally (and secretly) decided the

properties are not “viable,” for which there is no basis in Local Law No. 37. After illegally seizing

such properties, Defendants do not auction them off to the highest bidder in a regular tax lien or

foreclosure sale but instead give them to their insider development partners for nominal

consideration without collecting any of the purported tax arrears that were the purported basis of

the seizure in the first instance. Id. ¶¶ 31–34, 78, 89, 106, 124. In other words, the City forgives

all tax debt and receives no tax revenue when it utilizes this approach. Id. ¶¶ 33, 90, 107, 125. It

is clear that the Defendants are “making arbitrary and capricious internal determination to seize

property . . . for purposes other than the collection of Tax Liens.” Id. ¶ 31.

Plaintiffs’ Resulting Injuries

       Defendants’ illegal conduct results in the improper takings of private property, for

improper purposes, without providing sufficient (or, at times, any) notice to the private property

owners that are being divested of their ownership and equity in their properties. Id. ¶¶ 73–74.

Specifically, Dorce was stripped, without notice, of his ownership of the property located at 373

Rockaway Boulevard, Brooklyn, New York, which he had owned since 1977, and owned free and

clear of any mortgages since 2012.         Id. ¶¶ 79–80, 85.      Jones’s and Murchison-Thomas’

homeownership interest in, and the significant equity of the cooperative housing development fund



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corporations (the “HDFCs”) that owned property at 1197 Dean Street, Brooklyn, New York and

248 Madison Dean Street, Brooklyn, New York, respectively, were wiped out without any

opportunity for these plaintiffs or the HDFC in which they own shares to oppose the property’s

seizure. Id. ¶¶ 68, 96–97, 101–02; Id. ¶¶ 112, 130. As Justice Partnow held when enjoining and

reversing Defendants’ illegal conduct:

               Due regard for property ownership is a fundamental tenet of the
               United States Constitution and the New York Constitution. * * *
               Here, the transfer of [private property], pursuant to the Third Party
               Transfer Program, would constitute an unlawful taking of private
               property without just compensation in violation of [the owner’s]
               constitutional rights under the Takings Clause of the Fifth
               Amendment to the United States Constitution and article I, section
               7, of the New York State Constitution.

No. 53 Borough of Brooklyn, 2019 WL 1431423, at *12–13.

       Defendants’ illegal conduct also results in a redistribution of property ownership and

wealth away from individuals that are of African-American and/or Hispanic American descent to

private companies and partners of the City such as defendants Neighborhood Restore and Bridge

Street, utilizing the TPT Program. Compl. ¶ 75. In many instances, the buildings illegally seized

by Defendants are long-standing, family-owned, and/or affordable housing HDFC properties, with

residences therein that provide long-term affordable homeownership for extended families. Id. ¶

76. In many instances, these buildings are held free and clear of any mortgage lien recorded against

the property. Id. ¶ 77. These buildings are predominantly in communities of color. Id. ¶ 78.

                                          ARGUMENT

I.     The Court Is Vested With Subject Matter Jurisdiction

       A.      The Rooker-Feldman Doctrine Does Not Negate Jurisdiction

       The Rooker-Feldman doctrine does not apply here. In Exxon Mobil Corp. v. Saudi Basic

Indus. Corp., the Supreme Court confirmed that the Rooker-Feldman doctrine is “narrow” and


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essentially stands for the limited proposition that a state court litigant cannot appeal a state court

decision directly to a federal district court. 544 U.S. 280, 284 (2005) (holding that the Rooker-

Feldman doctrine is “confined to cases . . . brought by state court losers complaining of injuries

caused by state-court judgments rendered before the district court proceedings commenced and

inviting district court review and rejection of those judgments”); see also Hoblock v. Albany Cty.

Bd. of Elections, 422 F.3d 77, 84 (2d Cir. 2005) (“Rooker and Feldman thus established the clear

principle that federal district courts lack jurisdiction over suits that are, in substance, appeals from

state-court judgments”). Because Plaintiffs bring independent federal claims and do not seek to

appeal any state court decision, Rooker-Feldman has no application here.

        There are four requirements for the Rooker-Feldman doctrine to negate jurisdiction: (1)

the federal-court litigant lost in state court; and (2) the state court litigant complains of injuries

caused by the state court judgment; and (3) the state court litigant invites review and rejection of

that judgment; and (4) the state judgment was rendered before the district court proceedings

commenced. Green v. Mattingly, 585 F. 3d 97, 101 (2d Cir. 2009); see also Baretta v. Wells Fargo

Bank, N.A., 693 F. App’x 26, 28 (2d Cir. 2017). Defendants cannot even make a prima facie

showing that the doctrine applies, because no Plaintiffs in this action were even parties to prior

state court actions, much less losers in them. See Lance v. Dennis, 546 U.S. 459, 464–66 (2006)

(“[W]e have held Rooker-Feldman inapplicable where the party against whom the doctrine is

invoked was not a party to the underlying state-court proceeding.”); Johnson v. De Grandy, 512

U. S. 997, 1005–06 (1994) (Rooker-Feldman does not bar actions by a nonparty to the earlier state

suit). The prior state court actions name the respective res of each parcel of property, not Plaintiffs

herein, as defendants. See Feller Dec. Ex. B (ECF No. 32-2). Defendants fail to address this point,




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despite themselves acknowledging that the doctrine only applies where “the federal plaintiff lost

in state court.” MOL 5. Therefore, Rooker-Feldman is inapplicable.

         Vossbrinck v. Accredited Home Lenders, Inc., cited by Neighborhood Restore and BSDC,

does not hold otherwise. 773 F.3d 423 (2d. Cir. 2014). There, Vossbrinck was a party to a

foreclosure action by a private lender, in which the action is against the borrower. Id. at 425. This

is entirely different than an in rem proceeding against a property directly. Additionally, Vossbrink

supports Plaintiffs because it confirms that Rooker-Feldman has no application to claims that were

not litigated in state court, even if they concern related factual matters. Id. at 427 (Rooker-Feldman

has no application to fraud claims that do “not require the federal court to sit in review of the state

court judgment” and where it applies, the proper procedure is remand, not dismissal).

         Defendants also fail the second prong, because Plaintiffs’ injuries are not caused by a state

court judgment. See Sung Cho v. City of New York, 910 F.3d 639 (2d Cir. 2018) (finding Rooker-

Feldman inapplicable because plaintiffs brought claims that “speak not to the propriety of the state

court judgments, but to the fraudulent course of conduct that defendants pursued in obtaining such

judgments.” (quoting Sykes v. Mel S. Harris and Assocs. LLC, 780 F.3d 70, 94–95 (2d Cir. 2015)

(internal quotations marks omitted)); Hoblock, 422 F.3d at 88 (a federal suit complains of injury

from a state-court judgment only when plaintiffs injuries are not merely “ratified, acquiesced in,

or left unpunished by” the state court judgment).5 Here, Plaintiffs’ injuries are caused by the state’s

Third Party Transfer program, the City’s failure to provide notice (either of the action itself, or of



5
  Ignoring Sung Cho and Hoblock, Municipal Defendants cite Barretta v. Wells Fargo Bank, N.A., 693 F. App’x 26,
28 (2d Cir. 2017), Wilson v. Deutsche Bank Nat’l Tr., 410 F. App’x 409, 410 (2d Cir. 2011), Redmond v. Bank of NY
Mellon Corp., 697 F. App’x 23, 24–25 (2d Cir. 2017), and Gonzalez v. Deutsche Bank Nat’l Tr., 632 F. App’x 32,
33–34 (2d Cir. 2016). These cases are inapplicable because none involved a foreclosure by a governmental entity, or
any taking of the remaining property value—in all of these cases, the foreclosing parties were private entity creditors,
so the constitutional issues raised herein were not litigated. Additionally, each of these cases other than Redmond
involved pro se plaintiffs and all involved plaintiffs who directly sought to reverse the state court’s foreclosure
proceeding.

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any purported right of redemption), and the City’s failure to provide just compensation for the

taken remaining property value—not by the state in rem proceedings. Plaintiffs’ injuries were

perhaps “ratified” and “left unpunished by” the state court—not caused by it. Hoblock, 422 F.3d

at 88.

         The third prong is also not satisfied as the Complaint’s prayer for relief does not seek to

overturn any state court judgment. See Compl. at 44–45. It seeks declaratory relief, injunctive

relief, and monetary damages for Defendants’ violation of Plaintiffs’ constitutional rights under

the U.S. Constitution and their civil rights under 42 U.S.C. § 1983, and asserts state law claims

over which the Court may exercise supplemental jurisdiction. Id. Moreover, the Complaint also

asserts claims based on Defendants’ misconduct after the state court decision Defendants rely on,

including their continued failure to notify the relevant property owners and their affirmative

misrepresentations. Id. ¶ 70, 95, 120. The Rooker-Feldman doctrine obviously cannot apply to

prevent review of Defendants’ misconduct that took place after the relevant state court decision.

         Moreover, even if all of the prongs of the doctrine had been met—which they have not—

the doctrine does not apply to general constitutional challenges to the validity of a statute. See

Dist. of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 483 (1983); see also Fullerton Ave.

Land Dev. Ltd. v. Cianciulli, 48 F. App’x 813, 815 (2d Cir. 2002). As set forth in the Complaint,

Mayor Bill de Blasio stated that he intends to expand the TPT Program to seize upwards of forty

additional dwellings annually, and thus the TPT Program represents a continued threat to property

owners in minority communities targeted by the City’s program. Compl. ¶ 49; see also Susan B.

Anthony List v. Driehaus, 573 U.S. 149, 159 (2014) (“[A] plaintiff satisfies the injury-in-fact

requirement where . . . there exists a credible threat” that an alleged unconstitutional law will be




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enforced) (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979) (internal quotation marks

omitted)).

        Finally, applying Rooker-Feldman in this case would also run contrary to Knick, which

confirms that a victim of an illegal taking has an immediate right to proceed to federal court under

Section 1983 regardless of any procedures a State may have set up. 139 S.Ct. at 2169–70.

        B.     Plaintiffs’ Claims Are Not Barred By the Doctrine Of Comity, Nor are Plaintiffs
               Barred by The Tax Injunction Act

        Defendants assert that comity and the Tax Injunction Act (the “TIA”) bar federal subject

matter jurisdiction. Federal court jurisdiction is barred under the comity doctrine when “relief

would necessarily interfere with state tax administration,” and when adequate state remedies exist.

Abuzaid v. Mattox, 726 F.3d 311, 312 (2d Cir. 2013). Here, the instant suit in no way disrupts

state tax administration because the City is not using the TPT Program to collect or administer

taxes. Compl. ¶¶ 10, 32–33, 90, 107, 125. The City enforces its real property tax liens through

Chapter 3 of Title 11 of the Code, which may proceed unimpeded by the instant suit.

        For similar reasons, the TIA does not bar Plaintiffs’ claims. The TIA prohibits federal

court jurisdiction over suits to enjoin or restrain, inter alia, the collection of state tax, provided

again that there is an adequate state court remedy. MOL 8. The TPT Program is not a statute for

the collection of tax, and the state collects no taxes through the statute. Compl. ¶ 10, 32–33, 90,

107, 125. Accordingly, since “[i]nhibiting state collection of taxes and harming state coffers are

what [the Tax Injunction Act] seeks to safeguard against,” MOL 9, it is of no applicability in this

case.

        Comity and the TIA also do not bar jurisdiction because, even if Defendants could satisfy

the first prong, there is no adequate state court remedy. Plaintiffs assert federal constitutional

claims that can proceed only in this court and seek the forward-looking relief of enjoining


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Defendants’ continued illegal conduct. Furthermore, any requirement that Plaintiffs pursue state

court remedies as a condition precedent to bringing these federal claims has been abrogated by the

Supreme Court’s recent decision in Knick, which held exactly the opposite. 139 S.Ct. at 2177.6

II.     Plaintiffs Jones and Thomas-Murchison Have Standing

        As an initial matter, there is no challenge to Plaintiff Dorce’s standing by any of the

Defendants. Although the Municipal Defendants do not contest Plaintiffs Jones and Thomas-

Murchison’s standing, Neighborhood Restore and BDSC (the “TPT Defendants”) argue that

Jones and Thomas-Murchison do not have standing to challenge Defendants’ illegal seizure of

their homes because their homes were in cooperative buildings and the resultant injury is to the

HDFCs themselves. TPT Defs.’ Memo. Supp. Mot. Dismiss 14–15. This is flatly wrong and

contrary to settled law.

        To satisfy the requirements of Article III standing, a party must establish three elements:

injury-in-fact, causation, and redressability. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61

(1962). Jones and Thomas-Murchison establish each of these elements, since they were illegally

stripped of their rights as property owners and relegated to the status of tenants in their own homes.

Compl. ¶¶ 100, 118. See, e.g., Canzoneri v. Inc. Vill. of Rockville Centre, 986 F. Supp. 2d 194,

200–01 (E.D.N.Y. 2013) (loss of home and related “great distress” is a “concrete, actual injury”

sufficient to establish standing); see also United States v. 116 Emerson St., 942 F.2d 74 (1st Cir.

1991) (finding that the wife of an accused drug dealer had standing to context forfeiture of a house

owned in her husband’s name).




6
 Defendants cite a case that relies on Williamson Cty. Reg’l Planning Comm’n v. Hamilton Bank of Johnson City,
473 U.S. 172 (1985), which was expressly overturned by Knick, 139 S.Ct. at 2179. See, e.g., Islamic Comm. Ctr. v.
City of Yonkers, 742 F. App’x 521, 525 (2d. Cir. 2018) (applying comity and the TIA to bar Section 1983 actions
based on lack of ripeness for failure to exhaustively litigate in state court based on Williamson Cty.).

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       The fact that Jones and Thomas-Murchison were shareholders in a cooperation does not

mean that they cannot also suffer direct injuries for standing purposes, as they have here. See

Ceribelli v. Elghanayan, 990 F.2d 62, 64 (2d Cir. 1993) (coop shareholders can bring a direct

action); see also Siegel v. Engelmann, 143 N.Y.S.2d 193, 194–95 (Sup. Ct. 1955) (“[S]tockholders

are directly injured and primarily interested” when the acts of others diminish the value of their

stock or otherwise impair their proprietary rights).

       Jones and Thomas-Murchison were both shareholders in HDFCs who lost their real and

personal property the through the City’s modified in rem process (Compl. ¶¶ 57, 58), their

homeownership rights in such properties, along with equity value of their shares. Compl. ¶¶ 101,

112, 119, 130. In addition to losing their homesteads, their familial legacies, their proprietary

leases, and the value of their coop shares, they lost the protections that come from being part of a

HDFC, including long term stability and affordable housing as owners. Id. at ¶¶20, 115–116.

Indeed, the central purpose of HDFCs is to provide long term homesteading and ownership to low-

income individuals and families who would otherwise be unprotected from the dislocation of

market forces, or harassment, overcharges, dislocation or displacement from landlord-tenant

relationships. See N.Y. Priv. Hous. Fin. Law § 573 (McKinney) (one of the primary purposes of

HDFCs is improvement of housing for persons of low income by providing them with long-term,

affordable, stable residences “by reason of ownership of shares in such corporation”).

       This is not a purely economic loss as the loss of one’s home is acutely personal. Jones and

Thomas-Murchison lost the benefit of dominion and control over their cooperative residences that

were appurtenant to their share interest in the HDFCs. Id. ¶¶ 96, 113. They also lost the benefit

of the self-determination resulting from owning shares and residential units in the HDFCs, id., due

to the City’s abuse of in rem power. Compl. ¶¶ 20, 96-97, 101, 112, 113-116, 119, 130.



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         Moreover, even if Plaintiffs’ claims were somehow construed as derivative, they would

still be proper because this is a clear case of demand futility. To the extent the relevant HDFC

cooperative corporations still exist, they have been stripped of all assets by Defendants’ illegal

conduct and thus do not have any functioning board that could consider a demand by Jones or

Thomas-Murchison to bring this lawsuit. Further, HDFC charters are explicit that the HDFC

business is to be conducted exclusively in the interest of the residents; and acts or omissions by

the corporate board would be ultra vires to the extent it is not so conducted.7

         The TPT Defendants rely primarily on Blakely v. Cardozo, No. 07 Civ. 3951 DLC, 2007

WL 2702241 (S.D.N.Y. Sept. 17, 2007). Blakely is distinguishable for three reasons. First, the

plaintiff in Blakely, proceeding pro se, sought standing to bring the suit on behalf of the HDFC

cooperative and did not allege that she suffered a separate and distinct injury. Id. at *3 (plaintiff

“has not alleged that the City has violated an independent duty to her”). This is different than this

case where Jones and Thomas-Murchison allege personal injuries to themselves. Second, the

Blakely court was addressing whether the plaintiff had standing to review and reverse an in rem

foreclosure action. Id. at *2. That has no relevance to whether a plaintiff has standing to bring the

constitutional claims at issue here. Third, because the Blakely plaintiff was proceeding pro se, the

court found that she was not a capable representative of the HDFC coop because the law requires

that a corporation be represent by counsel. Id. at *3. The Blakely court did not hold that a




7
 “The certificate of incorporation of any [HDFC] organized pursuant to the business corporation law and this article
shall, in addition, provide that each housing project of such corporation shall be operated exclusively for the benefit
of the persons or families who are entitled to occupancy in such housing project by reason of ownership of shares in
such corporation . . . .” N.Y. PRIV. HOUS. FIN. § 573(4) (McKinney 2019).



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shareholder-representative could never, under any facts, have standing to challenge an in rem

foreclosure of a property owned by a HDFC cooperative.8




III.    The Complaint Adequately States A Claim For Relief As To Each Cause Of Action

        A.        Plaintiffs Properly Plead the First and Second Causes of Action (Violation of Due
                  Process)

        Defendants’ threshold argument is that Plaintiffs fail to state a claim for violation of the

due process clause of the U.S. Constitution because Plaintiffs do not allege that the City failed to

comply with the statutory notice provisions of what Defendants now refer to as “the City’s in rem

law.” MOL 10. Defendants’ argument is wrong for two reasons. First, Plaintiffs credibly allege

that Defendants did not comply with the statutory notice requirements of Local Law No. 37,

Compl. ¶¶ 68, 70, 71, 74, 85, 87, 104 and 122, and Plaintiffs specifically allege that “the City

instituted in rem proceedings with actual knowledge that it was not providing notice reasonably

calculated to inform property owners of the proceeding” in the First Cause of Action. Id. ¶ 145.

Defendants’ affidavit purporting the contrary is not appropriately considered on a motion to

dismiss. See, e.g., Global Network Commc’ns, Inc., 458 F.3d at 156–57. Further, Defendants

admit that the City’s in rem laws require both constructive notice (by publication) and actual notice

(by mailing) to the owner of the affected property, and Defendants do not dispute that they failed

to attend to each such requirement.9




8
  The Bingham v. Zolt case cited by the TPT Defendants is helpful to Plaintiffs. 66 F.3d 553, 562 (2d Cir. 1995). It
confirms that even where a plaintiff is solely injured in his capacity as a shareholder of a company, he can
nevertheless have standing to bring direct claims where equity requires. Id.
9
  For example, NYC Admin. Code § 11-406(a) required the Municipal Defendants to publish “a notice of foreclosure”
in the City Record and two newspapers which are “published in and are circulated throughout the county in which the
affected property is located.” Defendants do not even argue that they complied with this, or any other requirement in
NYC Admin. Code § 11-406, et seq.

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       Second, the statutory notice requirements themselves are constitutionally deficient for the

purposes for which Defendants apply them. In order words, constitutional law is clear that

Plaintiffs are entitled to more notice than they received before the title to their real and personal

property, and their value and investment in such properties, is extinguished by in rem judgment.

The United States and New York Constitutions both require that Plaintiffs receive actual “due

process” before being summarily dispossessed of the ownership of their properties that Plaintiffs’

labored to improve for decades. See Mullane v. Central Hanover Bank & Tr. Co., 339 U.S. 306,

314 (1950) (notice must be “reasonably calculated, under all the circumstances, to apprise

interested parties of the pendency of the action and afford them an opportunity to present their

objections.”). As the Supreme Court put it, “when notice is a person’s due, process which is a

mere gesture is not due process.”        Id. at 115.    Because the statutory procedure itself is

constitutionally deficient, Defendants’ conduct would be unconstitutional even if they complied

with the statute (which Plaintiffs credibly allege they did not).

       Plaintiffs’ allegations that Defendants’ notice process was inadequate and that they knew

it are more than sufficient to defeat dismissal at this stage. Plaintiffs allege that Defendants

continued to accept tax and other payments from Plaintiffs even after Defendants had purportedly

seized their properties. Compl. ¶¶ 52, 95. Thus, Defendants must have known that Plaintiffs did

not know about the purportedly pending foreclosure proceedings and they nevertheless tactically

remained silent so they could proceed with their illegal transfer. This allegation alone is sufficient

to defeat Defendants’ arguments. Furthermore, Justice Partnow’s decision systematically walks

through numerous other property owners who, like Plaintiffs, present evidence that Defendants’

seized their property with no actual notice. No. 53 Borough of Brooklyn, 2019 WL 1431423, at

*1, *3, *11, *13, *18. Plaintiffs’ notice-related allegations are credible because someone (let alone



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multiple people) would not knowingly fail to show up for a court proceeding where he or she risks

being dispossessed of substantial property rights and interests due to charges constituting a

fraction of the property value.

       Defendants’ argument that they are entitled to a presumption that mail is delivered is

irrelevant and frankly raises more fact questions that will need to be resolved through discovery,

such as: what did they mail, to whom, and when? Likewise, the City’s lengthy arguments that it

at least sometimes mails voluntary extra-statutory notices to Plaintiffs and their tenants are (1)

contrary to the well-pled allegations in the Complaint, (2) not relevant to whether Defendants’

complied with the statutory notice requirements, and (3) not relevant to whether the statutory

notice requirements comply with constitutional due process guarantees.

       Defendants also rely on the Second Circuit’s decision in Weigner v. New York, 852 F.2d

646, 649–50 (2d Cir.1988) for the proposition that “the state’s obligation to use notice ‘reasonably

certain to inform those affected’ does not mean that all risk of non-receipt must be eliminated.”

However, this proposition was specifically rejected by the U.S. Supreme Court in Schroeder v.

City of New York, 371 U.S. 208, 212–14 (1962). Although Defendants cite Schroeder, it supports

Plaintiffs. The Schroeder court stated, “[a]s was emphasized in Mullane, the requirement that

parties be notified of proceedings affecting their legally protected interests is obviously a vital

corollary [sic] to one of the most fundamental requisites of due process—the right to be heard.

‘This right . . . has little reality or worth unless one is informed that the matter is pending and can

choose for himself whether to appear or default, acquiesce or contest.’” 371 U.S. at 212.

       B.      Plaintiffs Adequately Plead The Third And Fourth Causes Of Action (Takings
               Without “Just Compensation”)

       Last month, the Supreme Court held that “[i]f a local government takes private property

without paying for it, that government has violated the Fifth Amendment—just as the Takings


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Clause says—without regard to subsequent state court proceedings. And the property owner may

sue the government at that time in federal court . . . .” Knick, 139 S.Ct at 2170. Plaintiffs clearly

allege (and the Defendants have admitted) that Defendants have taken their property without

paying for it. Compl. ¶¶ 93, 110, 128. That should be the end of the inquiry on a motion to dismiss.

       Defendants argue that they did not engage in an unconstitutional taking because “there is

no statutory prohibition against foreclosing non-‘distressed’ properties.” MOL 14. Of course, that

is precisely Plaintiffs’ point. Defendants’ self-styled “modified in rem process” is unconstitutional

because, inter alia, it permits Defendants to seize property simply because (a) the property owners

owe some nominal amount of purported tax debt and (b) the property is near a distressed property

even though not distressed itself. Whether or not this process complies with some statute is entirely

irrelevant as to whether it complies with constitutional guarantees. Further, both the U.S. and the

New York Constitutions prohibit the taking of personal property without due process of law, U.S.

CONST. amend. V (“[N]or be deprived of life, liberty, or property, without due process of law.”),

U.S. CONST. amend. XIV, § 1 (“[N]or shall any State deprive any person of life, liberty, or

property, without due process of law.”), N.Y. CONST. art. 6 (“No person shall be deprived of life,

liberty or property without due process of law.”), and without just compensation, U.S. CONST.

amend. V (“[N]or shall private property be taken for public use, without just compensation.”),

N.Y. CONST. art. 7 (“Private property shall not be taken for public use without just

compensation.”). In addition, Justice Partnow’s decision eviscerates Defendants’ arguments that

the legislature intended to allow them to seize non-distressed properties. See No. 53 Borough of

Brooklyn, 2019 WL 1431423, at *23. While not relevant to addressing constitutional guarantees,

Defendants are simply wrong about what Local Law 37 allows.




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       Defendants also make a fallback argument that they did not engage in an unconstitutional

taking because there is a mechanism for property owners to claim surplus value (i.e., the difference

between what the property is worth and the purported arrears). First, in light of the Supreme

Court’s decision in Knick, this argument cannot stand because Plaintiffs are not required to exhaust

state court remedies before pursuing an action in federal court. See Knick, 139 S.Ct. at 2170.

Further, Defendants’ argument is a red herring. The imaginary process they point to for property

owners to claim the surplus value consists of asking for “additional time to sell the property and

pay the liens from the proceeds.” MOL 16. The Complaint alleges that Defendants’ “modified in

rem process” provides “no method pursuant to which the former owner . . . may claim the ‘surplus’

value.” Compl. ¶ 39. Defendants’ only response is to claim Plaintiffs’ allegation is “inaccurate.”

MOL 16 n. 18. That response does not provide a basis to disregard the well-pled allegations of

the Complaint.

       Defendants rely principally on Nelson v. City of New York, 352 U.S. 103 (1956), to support

their argument that there is no requirement that a former owner receive surplus funds following an

in rem tax foreclosure. Defendants, however, gloss over significant differences. In Nelson, there

was an express process for the property owner to claim the surplus value and the court held that

he could be found to have voluntarily elected not to pursue it. Here, there is no such process. In

other words, even if a property owner had received notice that the City intended to seize his $5

million property due to a $100,000 tax debt using this so-called “modified in rem process,” nothing

in the statute or the City’s practices would provide for the property owner to claim the surplus

value. In addition, as Justice Partnow held, Nelson has no application where, as here, a property

owner maintains that it had no actual notice of the in rem proceeding. No. 53 Borough of Brooklyn,

2019 WL 1431423, at *13. This is because, even if there were a mechanism for Plaintiffs to claim



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surplus funds as part of a “modified” in rem proceeding, such a mechanism would be purely

illusory if nobody told them about the proceeding in the first instance. Nelson thus did not decide

the precise question presented here. Furthermore, to the extent that Nelson might have been read

in the past to imply more broadly that no takings claim could arise in this context if the property

owner had not first pursued a state claim for surplus, Knick now makes it clear that reading would

be incorrect. See Knick, 139 S.Ct. at 2170.

         Moreover, even if Defendants paid Plaintiffs fair value for their property, the taking would

still be illegal because Defendants lack a legitimate public use necessary to justify a taking. The

City alleges that the “secondary goal” of the TPT Program is “creating and preserving affordable

housing.” MOL 18. This is not credible because an HDFC already by its nature provides

affordable housing to persons of low income. N.Y. PRIV. HOUS. FIN. § 573(3)(a) (McKinney 2019).

Defendants simply cannot seize Plaintiffs’ property for political or other non-public purpose, or

for non-tax-lien-collection purposes. Haw. Hous. Auth. v. Midkiff, 467 U.S. 229, 245 (1984) (“A

purely private taking could not withstand the scrutiny of the public use requirement; it would serve

no legitimate purpose of government and would thus be void”). Here, Plaintiffs credibly allege

that Defendants’ tax enforcement is a pretext for political or other non-public purposes. See

Compl. ¶¶ 44, 46, 48, 73; see also Kelo v City of New London, Conn., 545 U.S. 469, 477 (2005)

(“Nor would the City be allowed to take property under the mere pretext of a public purpose, when

its actual purpose was to bestow a private benefit.”).10

         Defendants also argue that the Fifth Amendment is applicable only against federal

employees. MOL 13. This is a misrepresentation of the law and the cases cited by Defendants.



10
  Plaintiffs’ allegation that tax-collecting is a pretext for Defendants’ misconduct is also supported by the fact that
Defendants have alternate, more efficient ways to collect taxes in these circumstances, including the New York City
Tax Lien Sale program. See NYC Admin. Code § 11-319.

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See Public Utils. Comm’n vs. Pollak, 343 US 451, 461 (1952) (“These Amendments concededly

apply to and restrict only the Federal Government and not private persons.”) (emphasis added).

The U.S. Supreme Court confirmed that “[t]he Due Process Clause of the Fifth Amendment

prohibits the United States, as the Due Process Clause of the Fourteenth Amendment prohibits the

States, from depriving any person of property without due process of law.” Dusenbery vs. United

States, 534 U.S. 161, 167 (2002) (internal quotation marks omitted) (emphasis added). The law is

also clear that that the due process clause of the Fourteenth Amendment incorporates the Fifth

Amendment’s just compensation clause to prohibit State and specifically municipal conduct. Penn

Cent. Transp. Co. v. City of New York, 438 U.S. 104, 123 (1978).

       C.      Plaintiffs Adequately Plead The Fifth Cause Of Action (Section 1983 Claim)

       Defendants admit that Section 1983 “provides a vehicle to recover for alleged

constitutional violations.” MOL 19. Because Plaintiffs adequately allege constitutional violations,

they have adequately pled a Section 1983 claim. See Knick, 139 S.Ct at 2177 (“We conclude that

a government violates the Takings Clause when it takes property without compensation, and that

a property owner may bring a Fifth Amendment claim under § 1983 at that time.”). Notably, none

of Defendants dispute that they are acting under “color of state law” and are subject to the

requirements of Section 1983.

       The Municipal Defendants can clearly be liable for constitutional violations under § 1983.

See, e.g., Monell v. Dep’t of Soc. Servs. of New York, 436 U.S. 658, 690 (1978) (“[M]unicipalities

and other local government units [are] included among those persons to whom § 1983 applies.”).

Even if Neighborhood Restore and BDSC are not local government units, they are also liable under

§ 1983 as a result of the close nexus and joint activity between them and the City. See, e.g.,

Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n., 531 U.S. 288, 295 (2001) (“[S]tate

action may be found if . . . there is such a ‘close nexus between the State and the challenged action’

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that seemingly private behavior ‘may be fairly treated as that of the State itself.’”) (quoting Jackson

v. Metro. Edison Co., 419 U.S. 345, 351 (1974)); Sybalski v. Ind. Grp. Home Living Program, Inc.,

546 F.3d 255, 257 (2d Cir. 2008) (Section 1983 extends to entities where “the state provides

‘significant encouragement’ to the entity, the entity is a ‘willful participant in joint activity with

the state,’ or the entity’s functions are ‘entwined’ with state policies”) (quoting Brentwood Acad.

v. Tenn. Secondary Athletic Ass’n, 531 U.S. 288, 296 (2001)).

       D.      Plaintiffs Adequately Plead The Sixth Cause Of Action (Equal Protection
               Violation)

       Plaintiffs more than adequately plead an equal protection violation. Indeed, earlier this

year, Justice Partnow held that identical conduct by the City “raises equal protection concerns.”

No. 53 Borough of Brooklyn, 2019 WL 1431423, at *8. Defendants argue that there are no equal

protection violations because Defendants’ decisions to usurp Plaintiffs’ properties were “based on

their tax arrears.” MOL 21. But that is simply not the case. For example, consider the following

hypothetical properties:

                Property Value     Tax Arrears                Location                Seizure Status
 Property A     $1 million         $20,000        Near a “distressed” property       Subject to
                                                  in a community of color            seizure
 Property B     $1 million         $20,000        Not near any “distressed”          Not subject to
                                                  properties                         seizure

       As is clear, two identical property owners are being treated differently simply because one

lives in a community where he or she is more likely to have a neighbor who owns a “distressed”

property as defined in Local Law No. 37, which Defendants argue is sufficient so as to invoke

purported in rem powers to extinguish the latter property owner’s title and equity value. This is

the height of unequal treatment. See, e.g., Weissman v. Evans, 438 N.E.2d 397, 400 (N.Y. 1982)

(“[W]hile equal protection does not necessarily require territorial uniformity . . . a territorial



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distinction which has no rational basis will not support a state statute . . .”). This is particularly

true where, as here, the geographic distinctions are a proxy for protected racial characteristics.

See, e.g., Pyke v. Cuomo, 567 F.3d 74, 78 (2d Cir. 2009) (recognizing that “seemingly neutral

geographic distinctions may in fact be being used as insidious proxies for suspect racial

classifications”) (emphasis in original).11

        Defendants argue that Plaintiffs offer “no plausible allegations of discriminatory intent to

target their properties as opposed to those owned by similarly-situated individuals.” MOL 21. But

that is simply not the case. Plaintiffs credibly allege that Defendants are currently motivated by

purposes other than tax collection, to take valuable properties from persons of color least able to

“take on city hall” or HPD in order to transfer such properties for free to private organizations, in

a scheme “intended to, or that resulted in, a redistribution of property ownership and wealth away

from individuals that are of African-American and/or Hispanic American descent . . . .”) Compl.

¶ 75; see also id. ¶ 49 (Mayor de Blasio saying that “[w]e will seize their buildings”); id. ¶ 10 (TPT

Program “was enacted and is currently being utilized for purposes other than the collection of Tax

Liens”).12

        In addition, even if there are no protected classes involved at all, Defendants’ conduct

cannot survive even rational basis review, as there is no rational reason to treat otherwise similarly-

situated property owners differently based on whether they own property physically near a

distressed property.



11
   Public press reporting supports Plaintiffs’ allegations that Defendants seize properties predominately in
neighborhoods of color. See Kelly Mena, How Changes to a City Housing Program Could Save Vulnerable
Homeowners, BROOKLYN DAILY EAGLE (July 12, 2019), https://brooklyneagle.com/ articles/2019/07/12/third-party-
transfer-reforms/.
12
  These facts are plausibly alleged and thus must be accepted as true for purposes of Defendants’ motions to dismiss.
See McCarthy, 482 F.3d at 191.


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       The cases Defendants rely on are inapposite. Although Nelson v. City of New York rejected

an equal protection challenge of an earlier Administrative Code provision that provided that when

its strict foreclosure provisions were invoked, they were required to be used against all parcels in

a section of the City on which charges were outstanding for four years, Justice Partnow capably

explained the important distinction from Defendants’ current conduct where “property [i]s

included in the Third Party Transfer Program . . . despite not being a distressed property and where

the provisions of the Administrative Code pertaining specifically to distressed properties were

applied to it.” No. 53 Borough of Brooklyn, 2019 WL 1431423, at *8. Indeed, the fact that the

TPT Program allows Defendants to target particular properties for seizure so long as they are

located in close proximity to a “distressed” property even if they are not “distressed” themselves

is crucial difference from the conduct being evaluated by the Nelson court. Defendants’ reliance

on Miner v. Clinton Cty., 541 F.3d 464 (2d Cir. 2008), Tupaz v. Clinton Cty., 499 F. Supp. 2d 182

(S.D.N.Y. 2007) and Levy v. City of New York, 726 F. Supp. 1446 (S.D.N.Y 1989) is also

misplaced. Miner and Tupaz involve the same facts (Miner is the appeal of Tupaz) and do not

address the circumstances that are present here, where similarly-situated property owners are being

treated differently for no rational reason. See Miner, 541 F.3d at 467–71; Tupaz, 499 F. Supp. 2d

at 184–86. Levy’s holding that “landholders” do not qualify as a suspect class has no bearing on

this case, where Plaintiffs allege that Defendants are intentionally and purposefully targeting

property owners who live in communities of color and are likely to be African-American or

Hispanic American. Levy, 726 F. Supp. at 1453.

       E.      Plaintiffs Adequately Plead The Seventh Cause Of Action (Violation of Municipal
               Home Rule)

       Because state governments generally have plenary lawmaking power, political

subdivisions can only exercise such power to the extent delegated by the State. Boening v. Nassau


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Cty. Dep't of Assessment, 69 N.Y.S.3d 666, 669 (N.Y. App. Div. 2018). For a local taxing law to

be valid, the state legislature must delegate the power of taxation in “express terms,” as the

delegation “cannot be inferred.” Id. The State clearly did not authorize Defendants to steal

people’s private property through an illusory process that uses tax collection as a pretext, which is

precisely what Defendants are doing here.

       Defendants argue that the City has authority to take ultra vires actions (outside of its grant

of authority from the New York State legislature and the New York State Constitution) and enact

its own in rem laws for purposes other than tax collection. See MOL 2. The City claims that, on

its own initiative, it broadened its own authority to utilize in rem proceedings. However,

Defendants offer no explanation as to the source of this claimed inherent authority, and cite no

statutory, constitutional, case law or other authority for the proposition that the City can simply

enact laws because it wishes to enhance some “goal.” See MOL 2, and passim. Defendants couch

their entire argument as if they are actually enforcing a taxation statute, even though Defendants

do not refute the Complaint’s central allegation that the City collects no taxes through the TPT

Program and, in contrast, actually extinguishes all tax liability associated with properties seized

through the TPT Program. See, e.g., Compl. ¶¶ 10, 16, 32–33, 89–90, 106–07, 124–25 (alleging

the City collects no tax liens through the TPT Program); id. ¶ 32 (tax liability extinguished).

Additionally, defendants admit that the City authorized itself to dispose of residential properties

utilizing an in rem process for a purpose other than tax collection. MOL at 2.

       Indeed, because Plaintiffs credibly allege that the taxing-aspect of Defendant’s co-called

“modified in rem process” is a pretext, Defendants can obtain no protection from the Municipal

Home Rule Law’s authorization of local laws relating to tax collection. Municipal Home Rule

Law § 10(1)(ii)(a)(8). Thus, Plaintiffs more than adequately plead a claim for violation of the



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Municipal Home Rule Law. See, e.g., Baldwin Union Free Sch. Dist. v. Cty. of Nassau, 9 N.E.3d

351, 361 (N.Y. 2014) (holding Nassau County taxing law invalid because “the legislature [did not]

specifically authorize[] the County to enact local legislation with those characteristics”); Kamhi v.

Town of Yorktown, 547 N.E.2d 346, 348–49 (N.Y. 1989) (holding that a town’s attempt to require

a property owner to pay money or contribute parkland as a condition of developing a condominium

project invalid).

        In addition, Local Law No. 37 violates New York State’s Home Rule. See, e.g., City of

Amsterdam v. Helsby, 332 N.E.2d 290, 292 (N.Y. 1975) (local laws relating to “property, affairs

or government” may not be inconsistent with the provisions of the Constitution or of any general

law).


        F.     Plaintiffs Adequately Plead The Eighth Cause Of Action (Violation of GBL § 349)

        Defendants argue that this case is not a “typical” violation of GBL § 349. MOL 23.

Plaintiffs agree. It is not common that the City affirmatively seeks to deceive its own citizens but

that is precisely what is happening here. Defendants are taking people’s property and then acting

as if they didn’t so that these now-former property owners continue to pay municipal charges on

properties that the City contends they no longer own. That is the height of a deceptive practice

that is plainly outlawed under GBL § 349.

        GBL § 349 makes it illegal to engage in “[d]eceptive acts or practices in the conduct of any

business, trade or commerce.” The Court of Appeals has confirmed that a plaintiff must prove

three elements to successfully bring a claim under § 349: “first, that the challenged act or practice

was consumer-oriented; second, that it was misleading in a material way; and third, that the

plaintiff suffered injury as a result of the deceptive act.” Stutman v. Chemical Bank, 731 N.E.2d




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608, 611 (N.Y. 2000). Defendants do not address this test but appear to concede the second and

third elements.

        Defendants argue that their deceptive conduct is not “consumer-oriented” because it is

“related to tax collection.” MOL 24. Defendants’ argument that deceptive conduct is permissible

as long as it is “related to taxes” fails for at least three reasons.

        First, the Court of Appeals has held that the scope of § 349 applies to “virtually all

economic activity,” Blue Cross and Blue Shield of N.J., Inc. v. Philip Morris USA, Inc., 818 N.E.2d

1140, 1143 (N.Y. 2004) (quoting Goshen v. Mut. Life Ins. Co. of N.Y., 774 N.E.2d 1190, 1195

(N.Y. 2002)), and that it has been “construed liberally,” New York v. Feldman, 210 F. Supp. 2d

294, 301 (S.D.N.Y. 2002). The Second Circuit has acknowledged that to satisfy the consumer-

oriented standard, “the gravamen of the complaint must be consumer injury or harm to the public

interest.” Securitron Magnalock Corp. v. Schnabolk, 65 F.3d 256, 264 (2d Cir. 1995) (citation

omitted) (emphasis added). “The critical question is whether the matter affects the public interest

in New York, not whether the suit is brought by a consumer . . . .” Id. “[C]ourts have found

sufficient allegations of injury to the public interest where plaintiffs plead repeated acts of

deception directed at a broad group of individuals.” Feldman, 210 F. Supp. 2d at 301. In addition,

the consumer-oriented requirement can be satisfied by showing that the conduct “potentially

affects similarly situated consumers.” Sykes v. Mel S. Harris and Assocs. LLC, 780 F.3d 70, 84

(2d Cir. 2015). Here, Plaintiffs allege that Defendants have stolen their property in secret and then

lied to them to induce them to pay charges and other fees on properties that the Defendants claim




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Plaintiffs no longer own. Clearly this conduct involves “economic activity” and “harm to the

public interest.”13 GBL § 349.

         Second, even if Defendants were allowed to engage in deception for the purpose of tax

collection, Plaintiffs credibly allege that the purported tax-aspect of the TPT Program is a mere

pretext as Defendants do not collect any taxes as part of the program. See Compl. ¶¶ 10, 16, 32–

33, 89–90, 106–07, 124–25. To the contrary, they abandon tax debts that property owners are

ready, willing and able to pay. See id. ¶ 32–33.

         Third, even if the TPT Program actually involved the collection of taxes, the deceptive part

of Defendants’ conduct is that they lied to Plaintiffs, not collected taxes. One arm of the City told

Plaintiffs they owe property charges and other fees while another arm secretly seized their

properties with no actual notice. This surely constitutes a “deceptive act[] or practice[].”

         G.       Plaintiffs Adequately Plead The Tenth, Eleventh, and Twelfth Causes Of Action
                  (Declaratory and Injunctive Relief; Attorneys’ Fees)

         Without quibbling over whether requests for declaratory relief, injunctive relief, and

attorneys’ fees pursuant to the Civil Rights Attorneys’ Fees Awards Act of 1976 are causes of

action or remedies, the point is that Plaintiffs are entitled to them. See, e.g, Civic Ass’n of Deaf of

New York City, Inc. v. Giuliani, 915 F. Supp. 622, 625 (S.D.N.Y. 1996) (granting declaratory and

injunctive relief against municipal actors). Defendants do not dispute that, if the facts are as

alleged, Plaintiffs are entitled to such relief.




13
  The cases cited by Defendants for the argument that tax collection is not consumer-oriented are inapposite. Each
those cases involved taxes and other fees/charges that were properly charged. That is a far cry from the facts alleged
here. See Compl. ¶¶ 95, 192; see also No. 53 Borough of Brooklyn, 2019 WL 1431423, at *17–18.

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                                          CONCLUSION

         For the foregoing reasons, the motion to dismiss should be denied. Alternatively, Plaintiffs

should be granted leave to amend the Complaint to address any purported pleading deficiencies.

Dated:          July 18, 2019
                Garden City, New York

                                                    Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 18, 2019 a true and correct copy of Plaintiffs’ Memorandum

of Law in Opposition to Defendants’ Motions to Dismiss was served via electronic email on all

counsel of record.

Date: July 18, 2019



                                                          /s/ Matthew L. Berman
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